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   1                         UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
   2                               SOUTHERN DIVISION

   3    UNITED STATES OF AMERICA,

   4                   Plaintiff,
                                                     HON. JONATHAN J.C. GREY
   5
           v.                                        No. 23-CR-20451
   6
        TYLER N. ROSS,
   7
                     Defendant.
   8    __________________________/

   9
                    INITIAL APPEARANCE/ARRAIGNMENT/PLEA HEARING
  10
             BEFORE UNITED STATES DISTRICT JUDGE JONATHAN J.C. GREY
  11                 Theodore Levin United States Courthouse
                           231 West Lafayette Boulevard
  12                             Detroit, Michigan

  13                         Thursday, September 28, 2023
                                      1:51 p.m.
  14

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   7    Exhibits:                                                       Received

   8     (None offered.)

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   1                                                   September 28, 2023

   2                                                   Detroit, Michigan

   3                                    -    -     -

   4         (Court, Counsel and Defendant present; 1:51 p.m.)

   5              THE LAW CLERK:      All rise.

   6              THE COURT CLERK:      The United States District Court for

   7    the Eastern District of Michigan is now in session; the

   8    Honorable Jonathan J.C. Grey presiding.           You may be seated.

   9              The Court calls Case Number 23-20451, the United

  10    States of America versus Tyler Ross.           Counsel, please place

  11    your appearances on the record.

  12              MR. YAHKIND:     Good afternoon, your Honor.        Andrew

  13    Yahkind on behalf of the United States.

  14              MR. TYLER:     And also Andrew Tyler, also on behalf of

  15    the United States, your Honor.

  16              THE COURT:     Good afternoon to both of you.

  17              MR. KRIGER:     Good afternoon, your Honor.       Mark Kriger

  18    on behalf of Mr. Tyler Ross, who is present.

  19              THE COURT:     Good afternoon to the two of you as well,

  20    and you all may be seated.

  21              This is the day and time, first, for Mr. Ross's

  22    initial appearance, as well as arraignment.

  23              And so, Mr. Ross, I want to make sure that you

  24    understand some of your rights.          The government has charged you

  25    in an information.      Before I delve into, any deeper, into the


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   1    substance of those charges, I want to review some of your

   2    rights with you.

   3              You have the right to remain silent and anything that

   4    you say may be used against you.        Do you understand?

   5              THE DEFENDANT:      Yes.

   6              THE COURT:     I also want to make sure that you know

   7    that although you've hired an attorney to represent you, if at

   8    any point you were unable to afford an attorney to represent

   9    you, the Court would appoint an attorney to represent you.              Do

  10    you understand?

  11              THE DEFENDANT:      Yes, your Honor.

  12              THE COURT:     Thank you.

  13              And I've also received the information,

  14    acknowledgement of information, and a waiver.

  15              Mr. Ross, did you sign these two documents?           I'm

  16    holding up the waiver and the acknowledgement.

  17              THE DEFENDANT:      Yes, your Honor.

  18              THE COURT:     Thank you.

  19              And this waiver indicates that you understand that you

  20    have the right to have a grand jury weigh whether or not --

  21    there is probable cause to return an indictment against you,

  22    but you are waiving that right and you are allowing charges to

  23    be brought by the United States Attorney's Office.

  24              Is it true that you -- you understand those rights and

  25    you're waiving your right to an indictment?


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   1              THE DEFENDANT:      Yes, your Honor.

   2              THE COURT:     Thank you.

   3              And, also, this information -- pardon me, the

   4    acknowledgement of information indicates that you understand

   5    that if you are convicted or if you plead guilty to Count 1,

   6    conspiracy to commit an offense against the United States under

   7    Title 18 United States Code Section 371, that the maximum term

   8    of imprisonment is up to five years and there is a maximum fine

   9    of up to $250,000 or twice the gross gain or loss.            Is all of

  10    that true, that you understand that those are the penalties?

  11              THE DEFENDANT:      Yes, your Honor.

  12              THE COURT:     Thank you.

  13              And I also have received a report from pretrial

  14    services, but before we turn to that, just for completion of

  15    arraignment purposes, Mr. Kriger, would you like for the Court

  16    to read the information?

  17              MR. KRIGER:     Your Honor, we would waive formal reading

  18    of the information.

  19              THE COURT:     Thank you.

  20              And so to complete arraignment, I'm not going to read

  21    the information, and I am entering a not guilty plea on your

  22    behalf at this time, Mr. Ross.

  23              And so turning to matters of bond versus detention, is

  24    it true, Mr. Yahkind or Mr. Tyler, that the government is not

  25    seeking detention?


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   1              MR. YAHKIND:     The government is not seeking detention

   2    and would concur with the conditions recommended by pretrial

   3    services, your Honor.

   4              THE COURT:     Thank you.

   5              And I do have the written report from pretrial

   6    services that recommends bond and specific conditions.

   7              Mr. Kriger, any objection to these proposed

   8    conditions?

   9              MR. KRIGER:     I have an objection to one condition,

  10    your Honor, and that is the "recommend substance abuse and drug

  11    testing."     My client, or Mr. Ross, drinks couple glasses of

  12    wine a week and is a very, very infrequent user of edibles,

  13    which he's happy to stop, but he doesn't have a drug problem,

  14    and we -- as I indicated in chambers, he did a interview with

  15    probation today because he lives in California, and he did a

  16    drug test, and that was negative.         So I would ask that that be

  17    waived.

  18              As to the mental health evaluation, your Honor, he

  19    is -- until he moved to California, he had been living in New

  20    York City and was under the care of a psychiatrist, and he will

  21    continue that once he finds a psychiatrist in the Bay Area, but

  22    he will do that voluntarily, so.        And wants to continue with

  23    that.

  24              THE COURT:     Thank you.    And so you're not requesting

  25    that that condition technically be removed.          Is that --


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   1              MR. KRIGER:     I don't think it's necessary, but he's

   2    going to voluntarily do it whether it's there or not.

   3              THE COURT:     Thank you.

   4              And I note that we have a representative from pretrial

   5    services.    Is it your desire to have drug testing and drug

   6    treatment continue despite his negative test today?

   7              MR. PORTELLI:     Good afternoon, your Honor.        Michael

   8    Portelli with pretrial services.

   9              Yes, pretrial recommends that the conditions still be

  10    in place.    It's as directed by pretrial services, meaning that

  11    it would be at the discretion of his supervising officer in

  12    California, and if it's established that marijuana use or

  13    substance use in general is not a significant risk, then

  14    pretrial services would test him according to his level of

  15    risk.   So it's not like it would necessarily be a drug test

  16    every two weeks or every 30 days; it would just be based on

  17    their assessment of what would be needed.          So we still

  18    recommend it.

  19              THE COURT:     Thank you.

  20              Mr. Yahkind, would you like to be heard on that point?

  21              MR. YAHKIND:     I think that's a fair recommendation of

  22    our position as well especially since we have an admission that

  23    this defendant is using marijuana several times a year.             I

  24    think pretrial should have the discretion to order treatment as

  25    necessary.


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   1              THE COURT:     Thank you.

   2              And the Court also finds that each of these conditions

   3    are reasonable.

   4              I thank you, Mr. Kriger, for stating your position

   5    quite clearly, but I do find that they're reasonable

   6    particularly given the admissions, and the candid admissions

   7    which are appreciated, by Mr. Ross regarding the use of

   8    marijuana.    It does remain illegal under federal law, and so

   9    because of that, I do find that the condition is reasonable and

  10    it is also quite likely that Mr. Ross will not be tested

  11    regularly.

  12              So I would just reiterate that these seven conditions

  13    of bond and that pretrial services is recommending bond based

  14    on $10,000 unsecured bond with the conditions of reporting as

  15    directed to pretrial services, surrender passport to pretrial

  16    services immediately after release; that, Mr. Ross, that you

  17    not obtain a passport, enhanced identification, or other

  18    international travel document; that your travel be restricted

  19    to the United States; that you participate in a mental health

  20    evaluation and mental health treatment as directed by pretrial

  21    services; that you submit to drug testing and/or treatment as

  22    directed by pretrial services; and that you not use or

  23    unlawfully possess a narcotic drug or other controlled

  24    substance unless prescribed by a licensed medical practitioner.

  25              Mr. Ross, if I accept and impose each of these


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   1    conditions, do you agree to follow each and every condition of

   2    bond?

   3              THE DEFENDANT:      Yes, your Honor.

   4              THE COURT:     Thank you.

   5              Do you understand each of these conditions?

   6              THE DEFENDANT:      Yes, your Honor.

   7              THE COURT:     I want to make sure that you are aware

   8    that if you violated even just one condition of bond, you could

   9    be charged with an additional offense and subjected to

  10    additional punishment.      Do you understand?

  11              THE DEFENDANT:      Yes, your Honor.

  12              THE COURT:     Thank you.

  13              I am accepting and imposing conditions of bond.

  14              And, Mr. Ross, you're going to have to sign your

  15    agreement to follow these conditions.         And after processing

  16    today, you will be released from the courthouse and free to

  17    return to your residence.

  18              Mr. Yahkind and Mr. Tyler, pursuant to Rule 5(f), the

  19    United States is ordered to comply with its disclosure

  20    obligations under Brady versus Maryland and its progeny.

  21    Failure to timely do so may result in dismissal of charges,

  22    exclusion of evidence, adverse jury instructions, contempt

  23    proceedings and other sanctions.        Do you both understand?

  24              MR. YAHKIND:     Yes, your Honor.

  25              MR. TYLER:     Yes, your Honor.


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    1              THE COURT:    Thank you.

    2              And having completed the arraignment as well as the

    3   initial appearance, I next turn to the further matter that is

    4   presented to me, and it has been represented to me that

    5   Mr. Ross actually desires to plead guilty to the charge in the

    6   information.

    7              Is that true, Mr. Kriger?

    8              MR. KRIGER:    That's correct, your Honor.

    9              THE COURT:    Thank you.

  10               And so, Mr. Ross, you're going to be sworn at this

  11    time.    You'll be placed under oath.

  12               THE COURT CLERK:     Mr. Ross, please raise your right

  13    hand.

  14         (Tyler Ross, sworn, 2:02 p.m.)

  15               THE DEFENDANT:     I do.

  16               THE COURT CLERK:     You can lower your hand.       Thank you.

  17               MR. KRIGER:    Would you like him at the podium, your

  18    Honor --

  19               THE COURT:    There is fine, but if you're more

  20    comfortable at the lectern, you certainly may approach there.

  21               THE DEFENDANT:     This is fine.

  22               MR. KRIGER:    This is fine.

  23               THE COURT:    Thank you.

  24               I have a clear line of sight, and so I'm okay

  25    proceeding as we are.


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    1              Mr. Ross, I'm going to ask you multiple questions in

    2   this proceeding including about what you did.           I want to make

    3   sure that you are aware that you have to tell the truth and

    4   that any answers that you might state that wouldn't be true

    5   could be used against you in a separate prosecution for perjury

    6   or for making a false statement.         Do you understand?

    7              THE DEFENDANT:     Yes, your Honor.

    8              THE COURT:    And can you just state your full name.

    9              THE DEFENDANT:     Tyler Neil (phonetic) Ross.

  10               THE COURT:    Thank you.

  11               And do you understand, as I said to you earlier today,

  12    that you have a constitutional right to remain silent and not

  13    incriminate yourself?

  14               THE DEFENDANT:     Yes, your Honor.

  15               THE COURT:    And is it true that you want to give that

  16    right up and you want to plead guilty today?

  17               THE DEFENDANT:     Yes, your Honor.

  18               THE COURT:    And I'm going to ask you some background

  19    questions about competency.

  20               How old are you, Mr. Ross?

  21               THE DEFENDANT:     37 years old.

  22               THE COURT:    Thank you.

  23               And how far did you go in school?

  24               THE DEFENDANT:     I graduated law school.

  25               THE COURT:    Thank you.


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    1              And do you have any issues with reading, writing, and

    2   understanding in English?

    3              THE DEFENDANT:     No, your Honor.

    4              THE COURT:     And right now, sitting here today, are you

    5   under the influence of any medication, drugs, or alcoholic

    6   beverages?

    7              THE DEFENDANT:     No, your Honor.

    8              THE COURT:     I do find that Mr. Ross is capable of

    9   entering a knowing plea.

  10               Mr. Ross or Mr. Tyler, do you agree?

  11               MR. YAHKIND:     We agree, your Honor.

  12               THE COURT:     Thank you.

  13               MR. KRIGER:     Your Honor, he is under some medication,

  14    but they don't affect his ability to understand what is going

  15    on today.

  16               THE COURT:     Thank you.

  17               And those specifically were the prescribed medications

  18    identified in pretrial services report.          Is that true?

  19               MR. KRIGER:     Correct.

  20               THE COURT:     Thank you.

  21               And, Mr. Ross, you just heard Mr. Kriger make that

  22    note to the Court.       These medications, they were identified in

  23    your discussion with pretrial services.          Is that right?

  24               THE DEFENDANT:     It is, your Honor.

  25               THE COURT:     And you haven't taken anything else today


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    1   that you were not prescribed.         Is that true?

    2              THE DEFENDANT:     That is true, your Honor.

    3              THE COURT:    And the medications that you take, do they

    4   have any impact on your ability to remember or to understand

    5   what's happening?

    6              THE DEFENDANT:     No, your Honor.

    7              THE COURT:    Thank you.

    8              And so, again, I find that Mr. Ross is capable of

    9   entering a plea today.

  10               Mr. Kriger, do you agree?

  11               MR. KRIGER:    I do agree, your Honor.

  12               THE COURT:    Thank you.

  13               Mr. Ross, you have your attorney sitting right next to

  14    you today.     Have you discussed this matter in detail with

  15    Mr. Kriger?

  16               THE DEFENDANT:     Yes, your Honor.

  17               THE COURT:    And are you satisfied with both his advice

  18    and his service?

  19               THE DEFENDANT:     I am, your Honor.

  20               THE COURT:    I also want to review additional rights

  21    with you, and I need to make sure that you understand that if I

  22    accept your plea of guilty, you'll be deprived of specific

  23    civil rights including the right to vote; the right to vote,

  24    the right to hold office, to serve on a jury, and to possess or

  25    be around firearms.      Do you understand that?


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    1              THE DEFENDANT:     Yes, your Honor.

    2              THE COURT:    And you'll also be giving up some

    3   important constitutional rights, and I'm going to review those

    4   with you.

    5              Those include the right to plead not guilty, to have a

    6   trial before this Court or a jury, and at that trial you would

    7   be presumed innocent and the government would have to prove

    8   your guilt beyond a reasonable doubt.          You would have the

    9   ability to question witnesses against you through your

  10    attorney, and you could also have the Court order any witnesses

  11    you have for your defense to appear at trial.           You could also

  12    simply remain silent during the trial and not have your silence

  13    used against you, or if you wanted to testify, you could

  14    testify.    Understanding each of these rights, is it true that

  15    you want to give all of them up and plead guilty?

  16               THE DEFENDANT:     Yes, your Honor.

  17               THE COURT:    And I know that you had previously

  18    received a copy of the information.         Has Mr. Kriger explained

  19    this one charge and the specific details to you enough?

  20               THE DEFENDANT:     He has, your Honor.

  21               THE COURT:    And are you pleading guilty because you've

  22    had discussions with both your attorney and your attorney has

  23    also had discussions with the attorneys for the government?

  24               THE DEFENDANT:     Yes, your Honor.

  25               THE COURT:    And, Counsel, would you like to state the


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    1   essential terms of the plea agreement at this time,

    2   Mr. Yahkind?

    3              MR. YAHKIND:     Thank you, your Honor.

    4              The agreement contemplates the defendant will plead

    5   guilty to Count 1 of the information which charges conspiracy

    6   to commit an offense against the United States under Title 18

    7   U.S.C. Section 371.       The agreement reviews the statutory

    8   maximum penalties for that offense.         There is an agreement not

    9   to bring additional charges for conduct reflected in the

  10    information, the factual basis of the plea agreement and a

  11    section in the plea agreement that refers to additional conduct

  12    that is the subject of a dispute between the parties.             The

  13    agreement reviews the elements of the count of conviction.

  14    There is a detailed factual basis, your Honor, on pages 4

  15    through 9 of the agreement.

  16               On page 10 to the agreement, your Honor -- this is one

  17    of the disputed issues between the parties -- the agreement

  18    highlights that there is a dispute between the parties as to

  19    the scope of relevant conduct in this case.           And the agreement

  20    in paragraph 6 addresses that dispute which relates to the sale

  21    of certain properties in 2019 and the provision of some false

  22    financial information in connection with that sale.            And the

  23    agreement reserves for the parties the right to present

  24    information to the Court regarding that dispute for purpose of

  25    determining the guideline range.


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    1              The agreement reviews the rights the defendant is

    2   giving up as well as the collateral consequences of conviction.

    3   In terms of the guideline range, your Honor, there are a few

    4   agreed-upon guideline recommendations in the agreement relating

    5   to the base offense level, relating to the fact that the

    6   parties are agreeing to recommend that there is no loss in this

    7   case and are agreeing to recommend the defendant was an

    8   organizer or leader warranting an enhancement of two levels.

    9              There is another disagreement highlighted on page 14,

  10    your Honor.     That disagreement relates to the applicability of

  11    a certain sentencing enhancement that will affect the guideline

  12    range in this case, and the parties reserve the right to

  13    present their respective positions on that disagreement.

  14               The agreement reviews the restrictions on the

  15    defendant's inability to withdraw from the guilty plea.             There

  16    is also commitment by the government, your Honor, on page 16

  17    that if the Court does find that the enhancement that the

  18    government is seeking applies, that the government will make a

  19    sentencing recommendation that varies below the low end of the

  20    guideline range.

  21               The government is not otherwise restricted as to its

  22    sentencing recommendation.

  23               There is no agreement on recommendation on the terms

  24    of supervised release.       There is no recommendation as to a

  25    fine.    The agreement does not address either restitution or


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    1   forfeiture, your Honor.       There is an appellate waiver here that

    2   is a little bit unique.       The defendant waives any right he has

    3   to appeal his conviction on any grounds, but the defendant

    4   retains the right as well -- the government also retains the

    5   right to appeal the Court's determination on those two disputed

    6   issues that I flagged.       Otherwise, the defendant and the

    7   government both waive any right they have to appeal the Court's

    8   sentence.

    9              The defendant does waive his rights to collateral

  10    review.     On page 19, there's certain additional consequences

  11    regarding the use of the guilty plea and the use of any

  12    withdrawing of any guilty plea that are addressed in the

  13    agreement.     And, your Honor, I believe those are the most

  14    material terms of the agreement.

  15               THE COURT:    Thank you.

  16               Mr. Kriger, are there any specific provisions of the

  17    plea agreement that you would like to place on the record at

  18    this time?

  19               MR. KRIGER:    No, your Honor, but I would just like to

  20    clarify one thing that Mr. Yahkind said, and that is -- and he

  21    referred to the scope of the relevant conduct.           Our position is

  22    it's not a question of scope, that there is no relevant

  23    conduct, and then if there is relevant conduct, then the next

  24    question would be whether the enhancement even applies to

  25    Mr. Ross.


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    1              THE COURT:     Thank you.

    2              And you are referring to paragraph 6?

    3              MR. KRIGER:     Correct.

    4              THE COURT:     Noted for the record, and I believe

    5   it's --

    6              MR. KRIGER:     Let me --

    7              THE COURT:     -- also clearly stated in the plea

    8   agreement.

    9              MR. KRIGER:     Hold on one moment, your Honor.        If you

  10    don't mind.

  11               Correct.     It would be 6 and then also in paragraph 9

  12    as well.

  13               THE COURT:     Thank you.

  14               Mr. Ross, other than what is in this Rule 11 plea

  15    agreement, have you been promised by this Court, your attorney,

  16    or any of the attorneys for the government that you will be put

  17    on probation or receive any other specific sentence in return

  18    for pleading guilty?

  19               THE DEFENDANT:     No, your Honor.

  20               THE COURT:     Have there been any other promises made to

  21    you in exchange for your pleading guilty that are not contained

  22    in this Rule 11 plea agreement?

  23               THE DEFENDANT:     No, your Honor.

  24               THE COURT:     And I know that we went through the

  25    penalties earlier, but I'm just going to state them again, that


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    1   you understand the maximum penalties are up to five years in

    2   prison, a fine of up to $250,000, or twice the gross pecuniary

    3   gain or loss, as well as a term of supervised release of up to

    4   three years?     Is it true that you understand all of that?

    5              THE DEFENDANT:     Yes, your Honor.

    6              THE COURT:    Has anyone tried to force you to plead

    7   guilty by any mistreatment or pressure?

    8              THE DEFENDANT:     No, your Honor.

    9              THE COURT:    And are you pleading guilty freely and

  10    voluntarily because, in fact, you are guilty?

  11               THE DEFENDANT:     Yes, your Honor.

  12               THE COURT:    And specifically regarding the factual

  13    basis of this offense, I know that there were multiple pages

  14    provided by the parties in the plea agreement, and the essence

  15    of this charge is that you knowingly made a false statement to

  16    a mortgage lending business for the purpose of influencing the

  17    action of that business in connection with the loan and that

  18    you knowingly and voluntarily joined this conspiracy.             Are both

  19    of those items true?

  20               THE DEFENDANT:     Yes, your Honor.

  21               THE COURT:    And the factual basis indicates that this

  22    conspiracy lasted for multiple years, from 2015 through 2019,

  23    in the Eastern District of Michigan and elsewhere and that, in

  24    fact, you did conspire and agree with others to violate this

  25    statute, Title 18 United States Code Section 1014.            Is that


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    1   true?

    2              THE DEFENDANT:     Yes, your Honor.

    3              THE COURT:     Thank you.

    4              Would counsel like to do any additional voir dire for

    5   purposes of the record?

    6              MR. KRIGER:     If the Court is satisfied, I don't think

    7   it's necessary.      But if the Court believes a more detailed

    8   factual basis is necessary, I'm happy to do a voir dire with my

    9   client.

  10               THE COURT:     Thank you.

  11               I will just briefly supplement.

  12               Mr. Ross, all of these pages, from page 5 through

  13    pages 9, is any of that untrue?

  14               THE DEFENDANT:     No, your Honor.

  15               THE COURT:     Are you sure that all of that actually is

  16    true?

  17               THE DEFENDANT:     Yes, your Honor.

  18               THE COURT:     That you engaged in all of these

  19    activities?

  20               THE DEFENDANT:     Yes, your Honor.

  21               THE COURT:     Mr. Yahkind?

  22               MR. YAHKIND:     The government is satisfied, your Honor.

  23               THE COURT:     Thank you.

  24               And at this time, Mr. Ross, how do you plead?

  25               THE DEFENDANT:     Guilty, your Honor.


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    1              THE COURT:    Thank you.

    2              The Court finds that Mr. Ross's plea is knowingly,

    3   freely, and voluntarily made and that the elements of the

    4   offense to which he's pleading guilty have been made out not

    5   just by his statements in court but also supplemented by the

    6   specific facts contained in the plea agreement which Mr. Ross

    7   agreed with.

    8              And so your plea of guilty has been accepted, and I'm

    9   also accepting the Rule 11 plea agreement.

  10               This matter will be referred to the probation

  11    department for a completion of a presentence investigation

  12    report, and this matter will proceed with a bifurcated

  13    sentencing as requested by the parties.          And so the first

  14    sentencing date, Mr. Ross, we will have a hearing on evidence

  15    that the attorneys would like to present surrounding how the

  16    sentencing guidelines should be computed and then at the second

  17    date we will actually be imposing sentence.

  18               And so I believe we've identified the date of

  19    January 22nd.     Is that correct, Mr. Carroll?

  20               THE LAW CLERK:     Yes, Judge.

  21               THE COURT:    Or Miss Sandusky.

  22               THE COURT CLERK:     At 10:00 a.m.

  23               THE COURT:    So January 22nd, 2024, at 10:00 a.m.            And

  24    then the second part, the conclusion of sentencing, will take

  25    place on March 12th.


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    1              THE COURT CLERK:     At 3:00.

    2              THE COURT:    March 12th, 2024, at 3:00 p.m.        And so

    3   prior to that time you will have the opportunity to review the

    4   presentence investigation report.

    5              Counsel, is there anything further that any party

    6   would like to address?

    7              MR. KRIGER:    May I have a moment with Mr. Yahkind and

    8   Mr. Tyler?

    9              THE COURT:    You may.

  10        (Attorney conference.)

  11               MR. KRIGER:    Your Honor, we had indicated that prior

  12    to the first phase of the sentencing hearing we would supply

  13    the Court with our -- the relevant law as to our respective

  14    positions.     Do you want to set a date for when that will be

  15    done?

  16               THE COURT:    Thank you for inviting me to do that,

  17    Mr. Kriger.     I do.

  18               MR. KRIGER:    And I think it would be helpful to do it

  19    after we get the presentence report.

  20               THE COURT:    The Court is setting the date of

  21    December 22nd of 2023.       If for some reason the presentence

  22    investigation report has not been disclosed by that time,

  23    Counsel may request an adjustment on that date, and I don't

  24    foresee the need for a reply, but to the extent that a reply is

  25    needed, a reply may be filed within three weeks.


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    1              MR. YAHKIND:     Your Honor, may I raise an additional

    2   issue?

    3              THE COURT:     You may.

    4              MR. YAHKIND:     I may have missed this, and if I did, I

    5   apologize.     I did not hear the Court advise the defendant --

    6   the government does not anticipate seeking restitution, but the

    7   Court has the authority to order restitution as well as impose

    8   a special assessment.       And then also I may have missed this as

    9   well, and I apologize, your Honor, that the Court, in

  10    determining the sentence, has an obligation to consider the

  11    applicable guideline range and to consider that range, possible

  12    departures from that range, and other factors under Title 18

  13    U.S.C. 3553(a).

  14               THE COURT:     Thank you.    Those are each true.

  15               Restitution may be ordered as part of your sentence,

  16    Mr. Ross, and the Court would have to consider whether or not

  17    there is any restitution that is due and owing and should be

  18    calculated.     There is a mandatory special assessment of $100

  19    upon conviction, and that will be payable likely at the time of

  20    sentencing or at the time the judgment is in -- at the time

  21    that a judgment is issued by the Court.

  22               And then the other matter that you referred to, before

  23    you weigh in, Mr. Kriger, is the Court has to consider the

  24    sentencing guidelines, Mr. Ross, prior to pronouncing a

  25    sentence.     The sentencing guidelines -- my sentence must not


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    1   actually be within the sentencing guidelines, but I do have to

    2   actually compute the sentencing guidelines and make sure that I

    3   have counted them accurately.         And so you should stay in close

    4   contact with your attorney as this matter proceeds as the

    5   guidelines are formulated by the probation department in the

    6   presentence investigation report as well as whatever submission

    7   your attorney will be making regarding how the Court should

    8   count the guidelines.       Do you understand all of that?

    9              THE DEFENDANT:     I do, your Honor.

  10               THE COURT:    Thank you.

  11               Mr. Kriger, was there additional point?

  12               MR. KRIGER:    Yeah.    You indicated that, and stated

  13    that, the briefs were due on 12-22.         The government bears the

  14    burden of proof by a preponderance of the evidence that the,

  15    number one, there's relevant conduct, and if so, whether the

  16    enhancement even applies.         Do you want them to file the first

  17    brief and then we can file a response or do you want

  18    simultaneous briefs?

  19               THE COURT:    We'll have the government file their brief

  20    and you can respond three weeks later.

  21               MR. KRIGER:    Okay.    And then --

  22               THE COURT:    Which would be January 12th, 2024.

  23               MR. KRIGER:    Okay.

  24               THE COURT:    I don't foresee a reply being needed, but,

  25    Mr. Yahkind and Mr. Tyler, if you would like to file a reply,


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    1   you may do so by Friday, January 29th, 2024.

    2              MR. KRIGER:     You said 1-12 for our brief, correct?

    3              THE COURT:     Correct.     And the 19th for a reply by the

    4   government if they desire to do so.          And then we will have the

    5   hearing a few days after that.

    6              MR. KRIGER:     Okay.     Thank you, your Honor.

    7              THE COURT:     Thank you, Mr. Kriger.

    8              Anything additional?

    9              MR. KRIGER:     Nothing further, your Honor.

  10               MR. YAHKIND:     May I raise one more issue?       I

  11    apologize, your Honor.

  12               THE COURT:     Yes.

  13               MR. YAHKIND:     I'm just looking at my checklist here.

  14               I know I reviewed the terms of the agreement and

  15    discussed the appellate waiver and the collateral review

  16    waivers.    I'm not sure if the Court wants to address those as

  17    well pursuant to Rule 11.

  18               THE COURT:     Well, those are part of the plea agreement

  19    and they are part of the record.

  20               MR. YAHKIND:     Thank you, your Honor.

  21               THE COURT:     If there is anything additional you would

  22    like to say, you may, but basically, Mr. Ross, you may have

  23    some limited rights to appeal as contemplated by whatever

  24    you've agreed to in the plea agreement.          Do you understand

  25    that?


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    1              THE DEFENDANT:     Yes, your Honor.

    2              THE COURT:     Thank you.

    3              Mr. Kriger or Mr. Yahkind?

    4              MR. KRIGER:     Nothing further.

    5              MR. YAHKIND:     Nothing further.

    6              THE COURT:     Thank you.     This matter is adjourned.       And

    7   you are free after processing.

    8        (Proceedings concluded, 2:24 p.m.)

    9                                   -    -    -

  10                            CERTIFICATION OF REPORTER

  11

  12        I, Leann S. Lizza, do hereby certify that the above-entitled

  13    matter was taken before me at the time and place hereinbefore

  14    set forth; that the proceedings were duly recorded by me

  15    stenographically and reduced to computer transcription; that

  16    this is a true, full and correct transcript of my stenographic

  17    notes so taken; and that I am not related to, nor of counsel to

  18    either party, nor interested in the event of this cause.

  19

  20

  21    S/Leann S. Lizza                                         12-18-2023

  22    Leann S. Lizza, CSR-3746, RPR, CRR, RMR, RDR             Date

  23

  24

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